Case 1:13-cv-03309-REB-KMT Document 90-10 Filed 10/06/14 USDC Colorado Page 1 of 9




    COUNTY COURT, PARK COUNTY, COLORADO
    Court Address:
    P.O. Box 190, 300 Fourth Street, Fairplay, CO, 80440
                                                                                DATE FILED: June 18, 2014 4:54 PM
    Plaintiff(s) FEDERAL NATIONAL MORTGAGE ASSOCIATION
                                                                                CASE NUMBER: 2014C30068
    v.
    Defendant(s) MARTIN T WIRTH



                                                                                    COURT USE ONLY
                                                                           Case Number: 2014C 30068
                                                                           Division: A       Courtroom:

                                                           Order: Motion

    The motion/proposed order attached hereto: DENIED.

    The Court denies Motion For New Trial as the law allows the Federal and State case to
    proceed independently as they involve separate issues.
    The Court further finds that interests of P.E.R.A. and Plaintiff are insufficient to prevent this
    Judge from hearing this case.
    Judge Arthur Smith

    Issue Date: 6/18/2014




    ARTHUR R SMITH JR.
    Senior Judge




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Case 1:13-cv-03309-REB-KMT Document 90-10 Filed 10/06/14 USDC Colorado Page 2 of 9




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